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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                            CIVIL MINUTES - TRIAL

 Case No.         CV 17-07639 SJO (RAOx)                                                                             Date     December 10, 2019
 Title:           Juno Therapeutics, Inc. et al v. Kite Pharma, Inc.

 Present: The Honorable             S. James Otero
                           Victor Paul Cruz                                                                          Amy Diaz
                            Deputy Clerk                                                          Court Reporter/Recorder, Tape No.


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
                                                                                                             Gregory R. Booker
                                                                                                            William Chad Shear
                                                                                                            Jeffrey I. Weinberger
                                                                                                            Edward George Dane
                          Morgan Chu                                                                          Blanca F. Young
                         Alan J. Henrich                                                                     Peter E. Gratzinger
                      Andrea Weiss Jeffries                                                                  Geoffrey D. Biegler
                     Crawford Maclain Wells                                                                   Adam R. Lawton
                         Jennifer Swize

                               Day Court Trial                 6th                      Day Jury Trial
      The Jury is impaneled and sworn.
      Opening statements made by
 x    Witnesses called, sworn and testified.          x   Exhibits identified.     x    Exhibits admitted.

 x    Plaintiff(s) rest.                           x      Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                  defendant(s).                       Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                                       Jury resumes deliberations.
      Jury Verdict in favor of                            plaintiff(s)                  defendant(s) is read and filed.
      Jury polled.                                        Polling waived.
      Filed Witness & Exhibit Lists                       Filed jury notes.             Filed jury instructions.
      Judgment by Court for                                                             plaintiff(s)                        defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                         plaintiff(s)                        defendant(s).
      Case submitted.                 Briefs to be filed by
      Motion to dismiss by                                                         is          granted.                 denied.             submitted.
      Motion for mistrial by                                                       is          granted.                 denied.             submitted.
      Motion for Judgment/Directed Verdict by                                      is          granted.                 denied.             submitted.
      Settlement reached and placed on the record.
 x    Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
 x    Case continued to         Wed. Dec. 11, 2019 @ 8:30 a.m.                              for further trial/further jury deliberation.
                  Witnesses Mohan Rao, John Quackenbush, Aya Jakobovits and Thomas Brocker are called sworn and testified. Court
 x    Other:      and counsel review jury instructions.
                                                                                                                                        :      5/17

                                                                                          Initials of Deputy Clerk          VPC
cc:
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